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                               THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      SHERMAN DVISION

                                          DATE 2/23/2021

DISTRICT JUDGE                                      COURT REPORTER: Jan Mason
Amos L. Mazzant, III                                COURTROOM DEPUTY: Keary Conrad
   UNITED STATES OF AMERICA

                                                      CASE NUMBER 4:20-CR-107
   V.

   ANITA MOODY


   ATTORNEY FOR GOVERNMENT                            ATTORNEY FOR DEFENDANT
   Maureen Smith                                      John Claude Ginn

On this day, came the parties by their attorneys and the following proceedings were held in Sherman, TX:

  TIME:         MINUTES: Sentencing
  11:42 a.m.    Court in session. Court notes appearances. Court notes updated PSR. Parties have
                reviewed PSR. Defendant acknowledges she fully understands the PSR. No additions,
                corrections, or comments by the Government. No additions, corrections, or comments by
                counsel for the Defendant. No objections by Government.
  11:44 a.m.    Defendant’s counsel notes that there were two objections but those have been resolved.
  11:44 a.m.    Defendant’s counsel argues for the Court to reconsider accepting the 11(c)(1)(C)
                agreement and notifies the Court of actions the Defendant has made in order to attempt
                to resolve restitution. Defendant’s counsel notes the revised PSR (Dkt. #31) with the
                guideline range of 135-168 months.
  11:48 a.m.    The Court rejects the 11(c)(1)(C) agreement. The Court notes the options for the
                Defendant.
  11:48 a.m.    Defendant, Anita Moody is placed under oath. The Court proceeds with questioning
                regarding the rejection of the 11(c)(1)(C) plea agreement. Defendant advises she wants
                to proceed with her guilty plea and be sentenced as the Court sees fit.
  11:50 a.m.    The Court notes Defendant pled guilty to Counts 1 and 2 of the Information charging her
                with Conspiracy to Commit Bank Fraud and Explosive Material – Malicious Damage to
                Federal Property pursuant to an 11(c)(1)(c) plea agreement. The Court, while rejecting
                the plea agreement is accepting the plea.
  11:50 a.m.    TOL: 32, CHC II, Count 1: 135-168 months imprisonment. Court hears from Defendant’s
                counsel regarding what the sentence should be.
  11:54 a.m.    Court hears argument from the Government. The Government responds that §3553
                factors are satisfied and warrant some type of departure or variance. Court notes
                meetings by Defendant with FLU unit and cooperation towards paying the
                restitution. Government counsel notes immediate acceptance of responsibility.
  11:56 a.m.    Defendant allocuted.
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11:58 a.m.   The Court grants a variance based on cooperation. The sentence imposed for a total
             term of 96 months imprisonment on each of Counts 1 and 2 of the Information, all to be
             served concurrently. The Court recommends to the Bureau of Prisons that the defendant
             receive appropriate mental health treatment and drug treatment while imprisoned. Court
             recommends the defendant participate in the Inmate Financial Responsibility Program
             at a rate determined by Bureau of Prisons staff in accordance with the requirements of
             the Inmate Financial Responsibility Program. Defendant shall pay restitution totaling
             $11,136,241.82 . Fine waived, interest waived, special assessment of $200. Supervised
             release of 5 years. All mandatory and special conditions were referenced as outlined in
             the PSR.
12:03 p.m.   Court will recommend the Defendant be designated to BOP Bryan, Texas, if
             appropriate.
12:03 p.m.   Rights of appeal addressed.
12:05 p.m.   Defendant ordered to report on April 9, 2021 at 2pm.



                                               DAVID O’TOOLE, CLERK

                                               BY:      Keary Conrad
                                                     Courtroom Deputy Clerk
